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5
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,     )
10                                 )          Case No.2:04-cr-0378-MCE
                    Plaintiff,     )
11                                 )
               v.                  )
12                                 )          STIPULATION AND ORDER
     RAMON RAMIREZ and             )
13   OSBALDO RAMIREZ,              )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        It is hereby stipulated between the parties, Plaintiff United
17   States of America, by and through United States Attorney McGregor W.
18   Scott and Assistant United States Attorney Phillip A. Talbert,
19   Defendant Ramon Ramirez, through his attorney Jan David Karowsky,
20   and Defendant Osbaldo Ramirez, through his attorney Michael Long, as
21   follows:
22        It is agreed that the current Status Conference date of June 6,
23   2006 be vacated and a new Status Conference date of June 20, 2006 at
24   8:30 a.m. be set.
25        The continuance of the status conference is necessary because
26   the parties are in ongoing negotiations toward a possible resolution
27   of the case, the defense is gathering materials to provide to the
28   government for its consideration in such negotiations, and the


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1    defendants’ attorneys need time to discuss the ongoing negotiations
2    with the defendants.
3         Accordingly, the parties jointly request a new status
4    conference date of June 20, 2006, and that the time period from June
5    6, 2006, to and including June 20, 2006 be excluded under the Speedy
6    Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4
7    for defense preparation and based on a finding by the Court that the
8    ends of justice served by granting a continuance outweigh the best
9    interest of the public and defendant in a speedy trial.
10
                                              Respectfully submitted,
11
     Dated: May 22, 2006                     /s/Jan David Karowsky
12                                          JAN DAVID KAROWSKY
                                            Attorney for Defendant
13                                          RAMON RAMIREZ
                                          By PAT per telephone authorization
14
     Dated: May 22, 2006                     /s/Michael Long
15                                          MICHAEL LONG
                                            Attorney for Defendant
16                                          OSBALDO RAMIREZ
                                          By PAT per telephone authorization
17
18                                            McGREGOR W. SCOTT
                                              United States Attorney
19
     Dated: May 22, 2006                       /s/Phillip A. Talbert
20                                            PHILLIP A. TALBERT
                                              Assistant U.S. Attorney
21                                            Attorney for Plaintiff
22                                      ORDER
23   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
24   Dated: June 5, 2006.
25
26
27                                      _____________________________
                                        MORRISON C. ENGLAND, JR
28                                      UNITED STATES DISTRICT JUDGE



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